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                                 UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA

                                         CRIMINAL MINUTES

 Date: July 30, 2021               Time: 9:31 AM – 10:48 AM         Judge: LUCY H. KOH
                                   (1 hour, 17 minutes)

 Case No.: 16-cr-00519-            Case Name: UNITED STATES v. Johnny Ray Wolfenbarger (P)(C:N)
 LHK-1

Attorney for Plaintiff: Marissa Harris and Maia Perez
Attorney for Defendant: Severa Keith

  Deputy Clerk: Kassandra Dibble                         Court Reporter: Irene Rodriguez
  Interpreter: None requested                            Probation Officer: N/A

                                             PROCEEDINGS

Status Conference held via Zoom videoconference remotely. All parties, including Defendant
Wolfenbarger, appeared via videoconference. Defendant was present and out of custody.

The government represented that its case in chief would take 3-4 days. The Defendant represented that
he may not present a defense case, but if he does, the defense case would take only one day. As a result,
the trial estimate is now 5 days plus jury deliberations. Trial will be held on August 6, 9, 10, 11, and 12,
2021. Trial will take place from 9:00 a.m. to 4:30 p.m. each day. Each side will have 20 minutes for
attorney voir dire for each batch of 50 jurors. 12 jurors and 3 alternates will be selected.

The Court set the following new deadlines:
   •   By Friday, July 30, 2021:
           o Defendant shall file corrected proposed final jury instructions for Counts 1 and 2.
           o Defendant shall send the government a tentative set of proposed changes to the disputed
             transcript.
   •   By Monday, August 2, 2021:
           o Defendant shall file objections to the government’s proposed final jury instructions.



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          o Defendant shall send the government a final set of proposed changes to the disputed
            transcript.
   •   By Tuesday, August 3, 2021:
          o The parties shall jointly file—and email to the Courtroom Deputy—a Joint List of
            Entities, Individuals, and Locations.
          o The parties shall file any stipulations.
   •   By Wednesday, August 4, 2021: The parties shall jointly file—and email to the Courtroom
       Deputy—proposed language for jury instructions given during trial.
   •   By Thursday, August 5, 2021: each party shall email the Courtroom Deputy (1) a list of all
       people that each party will bring to the courtroom; and (2) each person’s vaccination status. A
       person may decline to state their vaccination status.
   •   By Thursday, August 5, 2021: the parties shall jointly file and email to the Courtroom Deputy a
       Limited Purpose jury instruction to be given to the jury with the government’s proposed prior
       bad acts instruction.
   •   By Friday, August 6, 2021: The government shall file objections to Defendant’s corrected
       proposed final jury instructions.
   •   By Tuesday, August 10, 2021: After meeting and conferring, the parties shall jointly file
       proposed final jury instructions. The parties shall use the Ninth Circuit Model Jury Instructions
       as much as possible. The parties shall identify where they agree and where they disagree. For any
       disputes, the parties shall provide brief justifications for their positions.


The Court made the following rulings on the record:
   •   The Court again overruled Defendant’s objection that the child pornography identified on the
       government’s exhibit list should not be admitted into evidence. See, e.g., Order Denying
       Defendant’s Motions in Limine, Nos. 12 and 13, ECF No. 358 (July 29, 2021).
   •   The Court overruled Defendant’s objection that—pursuant to the Court’s Order Denying
       Government’s Motion in Limine re: Admission of Western Union Spreadsheet, ECF No. 314
       (June 4, 2020)—the government could not introduce a summary exhibit containing excerpts of
       the Western Union spreadsheet. The Court found that the government’s proffer of the trial
       testimony of the Western Union custodian of record would establish that the Western Union
       spreadsheet qualifies for the business record hearsay exception and thus render the Western
       Union spreadsheet admissible.
   •   The Court ordered that the disputed transcript, to the extent it is not evidence and merely an aid
       for the jury, shall be limited to the audio/visual evidence published to the jury.
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The Wednesday, August 4, 2021 jury selection conference at 2:00 p.m. will be held in-person in
Courtroom 8 on the 4th Floor of the San Jose Courthouse. Following the jury selection conference, the
parties shall have a technology courtroom walkthrough with the Courtroom Deputy.

The Court previously made excludable time findings through the trial date of August 6, 2021. See ECF
No. 319.




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